     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 1 of 33 Page ID #:142



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 7

 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10     REFLEX MEDIA, INC., a Nevada          )     Case No. 2:18-cv-2260
       corporation; and CLOVER8              )
11     INVESTMENTS PTE. LTD., a              )
       Singapore corporation,                )
12                                           )     FIRST AMENDED COMPLAINT FOR
                     Plaintiffs,             )     CALIFORNIA COMMON LAW
13                                           )     TRADEMARK INFRINGEMENT;
             vs.                             )     FALSE DESIGNATIONS, FALSE
14                                           )     DESCRIPTIONS, FALSE
       PILGRIM MEDIA GROUP, LLC, a           )     ADVERTISING, UNFAIR
15     Delaware limited liability company,   )     COMPETITION; FRAUD IN THE
       PILGRIM FILMS AND TELEVISION, )             APPLICATION; COPYRIGHT
16     LLC, a California limited liability   )     INFRINGEMENT; AND CALIFORNIA
       company; PILGRIM OPERATIONS, )              UNFAIR COMPETITION
17     LLC, a California limited liability   )
       company; LIFETIME                     )
18     ENTERTAINMENT SERVICES, LLC, )
       a Delaware limited liability company; )
19     A&E TELEVISION NETWORKS,              )     DEMAND FOR JURY TRIAL
       LLC, a Delaware limited liability     )
20     company; AFTERBUZZ TV, LLC, a )
       California limited liability company; )
21     and DOES 1–10, inclusive,             )
                                             )
22                   Defendants.             )
23              Plaintiffs Reflex Media, Inc. (“Reflex Media”), and Clover8 Investments PTE. Ltd.
24     (“Clover8,” and together with Reflex Media, “Plaintiffs”), hereby bring this amended
25     complaint against Pilgrim Media Group, LLC, a Delaware limited liability company
26     (“Pilgrim Media”); Pilgrim Films and Television, LLC, a California limited liability
27     company (“Pilgrim Films”); Pilgrim Operations, LLC, a California limited liability
28     company (“Pilgrim Operations,” and together with Pilgrim Films and Pilgrim Media,
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                                        FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 2 of 33 Page ID #:143



 1     “PMG” or the “PMG Defendants”); Lifetime Entertainment Services, LLC, a Delaware
 2     Corporation (“Lifetime Entertainment”); A&E Television Networks, LLC, a Delaware
 3     limited liability company (“A&E,” and together with “Lifetime Entertainment,” the
 4     “Network”); AfterBuzz TV, LLC, a California limited liability company (“AfterBuzz TV,”
 5     and collectively with PMG and the Network, “Defendants”), and allege as follows:
 6                                            INTRODUCTION
 7              1.       This is an action arising out of: (a) Defendants’ unauthorized use, and
 8     application for registration, of Plaintiffs’ common law trademark, LOVE AT FIRST
 9     FLIGHT (sometimes referred to as the “Trademark”) and stylized logo, which Reflex
10     Media has used in commerce since at least 2015 in connection with its reality entertainment
11     series (the “Original Series”)—a production that has garnered over 701,000 views on
12     YouTube and is available worldwide; and (b) Defendants’ copyright infringement of
13     Reflex Media’s Original Series. The Original Series, which is actually named, Love at First
14     Flight, features: (i) subjects of general human interest, specifically: dating, relationships,
15     and the possibility of finding love between people who meet in-person for the first time
16     during travel; and (ii) Reflex Media’s unique style, artistic choices, and expression.
17              2.       The PMG Defendants collectively operate as an entertainment studio that has
18     produced several reality entertainment series, including: Topless Prophet (a series
19     “showcasing the steamy action that goes on inside [Alan Markovitz’s metro Detroit topless
20     clubs]—including a ‘fetish night’ promotion and the debut of two jittery novices recruited
21     from Pontiac”), Stripsearch (a competition show to find new strippers for a traveling “strip
22     revue”), Welcome To Sweetie Pie’s (a series about Sweetie Pie’s restaurants), The Ultimate
23     Fighter (a competition series and promotional vehicle for the Ultimate Fighting
24     Championship mixed martial arts organization, their pay-per-view shows, and fight
25     nights), American Chopper, Dirty Jobs with Mike Rowe, Down East Dickering, Ghost
26     Brothers and Ghost Hunters.
27              3.       The PMG Defendants, together with the Network, have produced and are
28     promoting and broadcasting through multiple forms of transmission media—including
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                                           FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 3 of 33 Page ID #:144



 1     YouTube—a reality entertainment series named, Love at First Flight (the “Infringing
 2     Series”), the premise of which also concerns dating, relationships, and the possibility of
 3     finding love between people who meet in-person for the first time during travel but does
 4     not contain Reflex Media’s unique style, artistic choices, and expression. As further
 5     described below, the Infringing Series substantially copies Reflex Media’s Original Series.
 6              4.        The Defendants’ infringement on Plaintiffs’ Trademark, logo (described
 7     below) and copyrights causes confusion between Reflex Media and its Original Series, on
 8     the one hand and the Defendants and their Infringing Series, on the other hand.
 9              5.       Indeed, a search on YouTube for the phrase, “love at first flight,” yields results
10     that make it virtually impossible to distinguish between Reflex Media’s Original Series
11     and Defendants’ Infringing Series. The following image is a screenshot taken from
12     YouTube following such a search. The first and third videos listed are from Defendants’
13     Infringing Series, and the second, fourth, and fifth videos are part of Reflex Media’s
14     Original Series.
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                                             FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 4 of 33 Page ID #:145



 1              6.       Creating even more confusion, Defendants’ affiliate—AfterBuzz TV—has
 2     promoted the Infringing Series using both the Trademark, and Plaintiffs’ stylized Love At
 3     First Flight logo, which Clover8 has applied to register with the United States Patent and
 4     Trademark Office (the “USPTO”)1. Notably, the version of Plaintiffs’ logo copied and used
 5     by AfterBuzz TV also includes the phrase, “by MissTravel.” This version of Plaintiffs’
 6     logo is referred to herein as the “Logo.”
 7              7.       The Logo and Trademark are sometimes referred to collectively as “the
 8     Marks.”
 9              8.       Plaintiff Clover8 owns the registered trademark, MISS TRAVEL (the “Miss
10     Travel Mark”), which it licenses to Reflex Media for use in connection with its website,
11     <www.MissTravel.com> (“MissTravel.com”).2
12              9.       Defendants’ use of the Logo is explicitly misleading as the source of the
13     Infringing Series because it identifies the Infringing Series as being produced and broadcast
14     “by MissTravel,” which simply is not true and gives the false impression that the Infringing
15     Series is created or otherwise affiliated with Reflex Media and its website,
16     MissTravel.com.
17              10.      Simply put, Defendants’ conduct is infringing Plaintiffs’ intellectual property
18     rights, including the Marks and the copyrights they own and use in connection with the
19     Original Series (collectively, the “Copyrights”), and this infringement creates confusion
20     and explicitly misleads consumers as to the Infringing Series’ content, origin, affiliation,
21     and/or sponsorship.
22                                                   PARTIES
23              11.      Plaintiff Reflex Media is, and at all material times hereto was, a corporation
24     duly organized and existing under the laws of the State of Nevada, with its principal place
25     of business in Las Vegas, Nevada. Among other things, Reflex Media produces
26     entertainment content and operates several dating websites, including MissTravel.com, a
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           Plaintiff Clover8’s application has been assigned Serial No. 87931098.
28     2
           MissTravel, Miss Travel, and/or MissTravel.com are trade names of Reflex Media.
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                                            FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 5 of 33 Page ID #:146



 1     website that promotes and describes itself as a place for “connecting travel-seeking
 2     singles.” MissTravel.com’s stated goal is “to match all travel lovers who wish to share the
 3     sites of the world with someone special.”
 4              12.      Plaintiff Clover8 is, and at all material times hereto was, a corporation duly
 5     organized and existing under the laws of Singapore. Clover8 is the registered owner of
 6     several federally registered trademarks that are used by Reflex Media and has applied for
 7     a federal trademark on the mark, LOVE AT FIRST FLIGHT, at the behest of Reflex Media.
 8              13.      Defendant Pilgrim Media is a Delaware limited liability company whose
 9     principal place of business is located in North Hollywood, California. Based on
10     information and belief, Pilgrim Media owns, controls and directs the activities of
11     Defendant Pilgrim Films, which is a subsidiary of Pilgrim Media and an entity that co-
12     produced the Infringing Series. Based on information and belief, Pilgrim Media is also a
13     co-owner of the Infringing Series.
14              14.      Defendant Pilgrim Films is a California limited liability company whose
15     principal place of business is located in North Hollywood, California. Pilgrim Films has
16     applied for the standard character trademark, LOVE AT FIRST FLIGHT, with the USPTO.
17     Pilgrim Films is also a co-producer of the Infringing Series.
18              15.      Defendant Pilgrim Operations is a California limited liability company whose
19     principal place of business is located in North Hollywood, California. Pilgrim Operations
20     is a co-producer of the Infringing Series.
21              16.      Defendant Lifetime Entertainment is a Delaware limited liability company
22     whose principal place of business is in New York, New York. Based on information and
23     belief, Lifetime Entertainment also maintains an office in Los Angeles, California.3
24              17.      Defendant A&E is a Delaware limited liability company and the owner of the
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       3
26       Plaintiffs believed that Lifetime Entertainment was the owner of the Lifetime network when the
       complaint was first filed. Since then, counsel for Lifetime Entertainment has advised Plaintiffs’ counsel
27     that Defendant A&E is actually the party that owns the Lifetime network. Based on these representations,
       Plaintiffs plan to voluntarily dismiss (without prejudice) Defendant Lifetime Entertainment shortly after
28     this Amended Complaint is filed. Then, the “Network” will be synonymous with A&E.
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                                            FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 6 of 33 Page ID #:147



 1     Lifetime network, an American and cable television network. Based on information and
 2     belief, Defendant A&E is a co-producer and co-owner of the Infringing Series.
 3              18.      Defendant AfterBuzz TV is a California limited liability company with its
 4     principal place of business located in North Hollywood, California. AfterBuzz TV is a
 5     digital broadcasting network that produces “post-game after-shows” about television
 6     shows. Based on information and belief, AfterBuzz TV has partnered with Defendants
 7     A&E, Pilgrim Media and and/or Pilgrim Films to produce an after show that talks about
 8     and promotes the Infringing Series.
 9              19.      Plaintiffs do not presently know the true names and capacities of the
10     defendants named herein as Does 1 through 10, inclusive. Plaintiffs will seek leave to
11     amend this amended complaint to allege these defendants’ true names and capacities as
12     soon as they are identified. Plaintiffs are informed and believe, and on that basis allege, that
13     each of the fictitiously named defendants, Does 1 through 10, participated in, and in some
14     manner are responsible for, the acts alleged in this complaint and the damages resulting
15     therefrom.
16              20.      Plaintiffs are informed and believe that at all times referenced herein, each
17     defendant was or is the agent, employee, partner, co-venturer, joint venture, successor-in-
18     interest, alter ego, and/or co-conspirator of each and all of the other defendants and was
19     acting within the course and scope of said agency, employment, partnership, co-venture,
20     joint venture, relationship and/or conspiracy. Plaintiffs are further informed and believe,
21     and on that basis allege, that each defendant acted in concert with, and with the consent of,
22     each of the other defendants, and that each defendant ratified or agreed to accept the
23     benefits of the conduct of each of the other defendants. Plaintiffs are further informed and
24     believe, and on that basis allege, that each defendant actively and knowingly participated
25     in the furtherance of the wrongful acts alleged herein, directed the wrongful acts alleged
26     herein, benefitted from the wrongful acts alleged herein, and/or used the certain of the
27     entity-defendants in a willful and intentional manner to carry out the wrongful acts alleged
28     herein.
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                                           FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 7 of 33 Page ID #:148



 1                                      JURISDICTION AND VENUE
 2              21.      This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1121, and
 3     28 U.S.C. §§ 1331 and 1338.
 4              22.      This Court has supplemental jurisdiction over Plaintiffs’ claims under state
 5     law pursuant to 28 U.S.C. § 1367(a).
 6              23.      Personal jurisdiction exists over Defendant Pilgrim Media because it is a
 7     Delaware company with its principal place of business in this judicial district.
 8              24.      Personal jurisdiction exists over Defendant Pilgrim Films because it is a
 9     California company with its principal place of business in this judicial district.
10              25.      Personal jurisdiction exists over Defendant Pilgrim Operations because it is a
11     California company with its principal place of business in this judicial district.
12              26.      Personal jurisdiction exists over Defendant Lifetime Entertainment because it
13     has an office in this judicial district and actively seeks to transact business with residents
14     therein, including as here, California companies such as the PMG Defendants, and to
15     broadcast its cable and satellite channel in Los Angeles, California. As such, personal
16     jurisdiction exists over Defendant Lifetime Entertainment because it conducts and
17     promotes its business in, and, upon information and belief, derives material benefits from
18     the State of California and from this judicial district, or otherwise purposefully avails itself
19     of the privileges and protections of the laws of the State of California, such that traditional
20     notions of fair play and due process are not offended by this Court’s exercise of jurisdiction
21     over it. In addition, a material portion of the acts giving rise to the claims against Lifetime
22     Entertainment arise from its conduct within this judicial district.
23              27.      Personal jurisdiction exists over Defendant A&E because it actively seeks to
24     transact business with residents of this judicial district, including as here, California
25     companies such as the PMG Defendants, and to broadcast its cable and satellite channel in
26     Los Angeles, California. As such, personal jurisdiction exists over Defendant A&E
27     because it conducts and promotes its business in, and, upon information and belief, derives
28     material benefits from the State of California and from this judicial district, or otherwise
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                                            FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 8 of 33 Page ID #:149



 1     purposefully avails itself of the privileges and protections of the laws of the State of
 2     California, such that traditional notions of fair play and due process are not offended by
 3     this Court’s exercise of jurisdiction over it. In addition, a material portion of the acts giving
 4     rise to the claims against Defendant A&E arise from its conduct within this judicial district.
 5              28.      Personal jurisdiction exists over Defendant AfterBuzz TV because it is a
 6     California company with its principal place of business in this judicial district.
 7              29.      Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1391(c)(2)
 8     because all Defendants are subject to the personal jurisdiction of this Court, and therefore
 9     are deemed residents of this district for purposes of venue, and upon information and belief,
10     all or most of the events giving rise to this action took place within this judicial district.
11                                OVERVIEW OF IMPORTANT EVENTS
12                    DEVELOPMENT & PRODUCTION OF REFLEX MEDIA’S ORIGINAL SERIES
13              30.      In early 2015, Reflex Media began to develop a reality entertainment series
14     named, Love at First Flight (the “Original Series”). The Original Series was described in
15     advertising as follows:
16           “Love at First Flight is a new web series by travel dating site, MissTravel.com. The
17           show follows two singles as they embark on a destination first date. Instead of
18           dinner and a movie, MissTravel connects travel enthusiasts for romantic getaways
19           in destinations such as Cabo San Lucas, Costa Rica and Las Vegas. Will these
20           singles miss their connection, or will they find Love at First Flight? Watch to find
21           out!”
22              31.      Reflex Media began casting potential participants for the show in 2015, and
23     to attract viewers to its new series, Reflex Media approached individuals who had
24     previously obtained substantial audiences on social media, including the video streaming
25     service and website, YouTube.
26              32.      On August 11, 2015, the first of four episodes of the Original Series was
27     uploaded to and available on YouTube to a worldwide audience. The episodes are available
28     at:
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                                           FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
     Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 9 of 33 Page ID #:150



 1              https://www.youtube.com/watch?v=mYWgWzufKrM,
 2              https://www.youtube.com/watch?v=dwpGaVomgZk,
 3              https://www.youtube.com/watch?v=JYuLVpnljDo, and
 4              https://www.youtube.com/watch?v=bOTCVL_W--8.
 5              33.      All four episodes of the Original Series have been available for viewing from
 6     the date they were uploaded and are still featured on Reflex Media’s YouTube channel
 7     DateMissTravel, available at https://www.youtube.com/user/DateMissTravel, and also
 8     featured on https://www.misstravel.com/press, and https://www.misstravel.com/laff.
 9              34.      The participants in Reflex Media’s Original Series do not meet or fall in love
10     on an airplane or while in the act of flying.
11              35.      Each episode of the Original Series indicates in its description that it is part of
12     the Love at First Flight series using standard characters.
13              36.      Each episode also features the Logo, pictured below:
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                                             FIRST AMENDED COMPLAINT
       4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 10 of 33 Page ID #:151



 1            37.      Additionally, the Original Series has been promoted using the Logo against
 2   the background depicted below:
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              38.      In late 2015, Plaintiff Reflex Media was approached by Cry Baby Media and
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     another production company to discuss adapting the Original Series for television.
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              39.      Cry Baby Media partnered on production with the PMG Defendants for two
12
     reality television shows, including Down East Dickering (which A&E also partnered on
13
     and aired on their television network, History, from April 2014 until January 2015) and
14
     Ghost Brothers (which aired from April 2016 until the present date).
15
              40.      Mike Nichols and Craig Piligian—who, based on information and belief, are
16
     employed by the PMG Defendants (and indeed, Mr. Piligian is the founder of Pilgrim
17
     Media Group)—are the executive producers of Down East Dickering and Ghost Brothers.
18
     They are also the executive producers of Defendants’ Infringing Series, with Mr. Piligian
19
     being credited by the website IMDb.com with its creation.
20
                            DEFENDANTS BEGIN DEVELOPING THEIR INFRINGING SERIES
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              41.      Based on information and belief, the PMG Defendants began to develop their
22
     Infringing Series in or about 2016, after Reflex Media was approached by Cry Baby Media
23
     and months after the Original Series had been published on YouTube.
24
              42.      Based on information and belief, the PMG Defendants began to cast
25
     participants for the Infringing Series in either late 2016 or early 2017, and posted a casting
26
     call on their website on January 3, 2017, titled, “Take A Trip and Meet the Love Of Your
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                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 11 of 33 Page ID #:152



 1   Life On FYI Network’s TV Show Love At First Flight.” (Internal quotation marks
 2   omitted).
 3            43.      On February 6, 2017, representatives from Reflex Media and the PMG
 4   Defendants participated in a phone call to discuss Defendants’ Infringing Series.
 5            44.      On February 7, 2017, a representative from Reflex Media followed up on the
 6   February 6, 2017, phone call and wrote an email to the PMG Defendants which reads, in
 7   relevant part:
 8        “We talked yesterday on the phone regarding [your] interest in Love at First Flight.
 9        [I]'d like to set up a meeting with the project lead, yourself, and any producers on
10        the show to discuss us potentially working together for branding and marketing of
11        the       show.    We    produced    a    show    nearly     identical   in   concept
12        (https://www.misstravel.com/laff/), and we think we could offer insight and
13        branding to your show! Please feel free to email or call.”
14            45.      On February 9, 2017, a representative of the PMG Defendants, Brent Owens,
15   wrote an email to Reflex Media stating, in relevant part:
16        “I’ve spoken to the relevant parties regarding your email below. They believe your
17        company could potentially be helpful in the casting process, however that phase is
18        nearly complete. If the show gets picked up for an additional season, we’d like to
19        reach out to discuss working together.”
20            46.      On February 21, 2017, a representative from Reflex Media wrote an email to
21   Brent Owens of the PMG Defendants, stating, in relevant part:
22        “That's unfortunate to hear. Since we won't be involved in this production, I'd like
23        to ask you to talk to the producers about changing the title of the show. Since your
24        show's premise and title are identical to our web series, I think there is a high
25        likelihood of consumers confusing your content with ours. Reflex Media has a
26        common law trademark in this niche: we started to develop our content in early
27        2015, have released multiple episodes, and have plenty of documentation on our
28        concept inception, production, casting, and launch; I also understand you have
                                                     11

                                         FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 12 of 33 Page ID #:153



 1        casted Jannie Lam, an individual we have used in the promotional material for our
 2        website (@ :07 https://www.youtube.com/watch?v=yS013RREaDI). For these
 3        reasons I ask [sic] foresee a high likelihood of consumer confusion and ask you to
 4        please reconsider the name of your show.”
 5            47.      A copy of this email correspondence described above is attached as Exhibit 1.
 6            48.      The PMG Defendants did not respond to Plaintiff Reflex Media’s request to
 7   change the title of the Infringing Series.
 8            49.      And, based on information and belief, the PMG Defendants attempted to cast
 9   Jannie Lam for the Infringing Series.
10                          DEFENDANTS FILE A FRAUDULENT TRADEMARK APPLICATION
11            50.      On February 27, 2017, six days after Reflex Media informed the PMG
12   Defendants that it had a common law trademark over the mark, LOVE AT FIRST FLIGHT,
13   and that it did not authorize the PMG Defendants’ use of the Trademark for Defendants’
14   Infringing Series, Defendants—through Pilgrim Films—filed a trademark application for
15   LOVE AT FIRST FLIGHT with the USPTO under 15 U.S.C. § 1051(b), which became
16   Application Serial No. 87351899 (the “Fraudulent Trademark Application”).
17            51.      An application under 15 U.S.C. § 1051(b) is an “intent-to-use” application,
18   meaning that the applicant intends to use the trademark in commerce after the application
19   date, which was February 27, 2017, in this case.
20            52.      An “intent-to-use” application also indicates that the applicant, or Defendant
21   Pilgrim Films in this case, does not believe it has used the mark as a trademark prior to the
22   time it submitted its application.
23            53.      The Fraudulent Trademark Application is for “[e]ntertainment services in the
24   nature of a television and multimedia program series featuring subjects of general human
25   interest distributed via various platforms across multiple forms of transmission media;
26   providing entertainment information to others via a global computer network.”
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                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 13 of 33 Page ID #:154



 1            54.      In their Fraudulent Trademark Application, Pilgrim Films declared that “to
 2   the best of [its] knowledge” it “believes that the applicant is entitled to use the mark in
 3   commerce.”
 4            55.      Pilgrim Films also declared that: “To the best of [its] knowledge and belief,
 5   no other persons, except, if applicable, concurrent users, have the right to use the mark in
 6   commerce, either in the identical form or in such near resemblance as to be likely, when
 7   used on or in connection with the goods/services of such other persons, to cause confusion
 8   or mistake, or to deceive.”
 9            56.      Pilgrim Films made these declarations even though it knew that a competing
10   reality entertainment series existed that used the Trademark and that their proposed use of
11   the same or nearly identical trademark was likely to create confusion among consumers.
12   As its subsequent actions show, it created, exacerbated and capitalized on this confusion.
13            57.      Pilgrim Films also likely filed an intent-to-use trademark application for
14   LOVE AT FIRST FLIGHT in response to being specifically told that the PMG Defendants
15   were not authorized to use the Trademark in relation to the Infringing Series, thereby
16   temporarily usurping Reflex Media’s right to trademark its intellectual property in bad faith
17   and denying Plaintiffs the rights that come with registration of the Trademark.
18            58.      Pilgrim Films’ Fraudulent Trademark Application was not a concurrent use
19   application.
20            59.      The USPTO examiner published Pilgrim Film’s Fraudulent Trademark
21   Application in the Trademark Official Gazette on May 23, 2017, without a showing of
22   acquired distinctiveness or any other showing of secondary meaning.
23            60.      Accordingly, the USPTO’s examining attorney and Defendant Pilgrim Films
24   believe the trademark, LOVE AT FIRST FLIGHT, is inherently distinctive in relation to
25   “[e]ntertainment services in the nature of a television and multimedia program series
26   featuring subjects of general human interest distributed via various platforms across
27   multiple forms of transmission media; providing entertainment information to others via a
28   global computer network.”
                                                      13

                                         FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 14 of 33 Page ID #:155



 1            61.      As of the date of filing this First Amended Complaint, Pilgrim Films has not
 2   filed a statement of use with the USPTO, and instead, filed a Request for Extension of
 3   Time to File a Statement of Use on January 18, 2018.
 4      PLAINTIFFS PROVIDE FURTHER NOTICE BEFORE THE INFRINGING SERIES IS BROADCAST
 5            62.      On or about March 24, 2017, Plaintiff Reflex Media delivered a cease and
 6   desist letter to Defendant Pilgrim Films, asking Defendants to stop infringing on Reflex
 7   Media’s Trademark and to revoke their application to register the same as a trademark with
 8   the USPTO.
 9            63.      Defendants did not respond to Reflex Media’s cease and desist letter, and
10   instead, Defendants moved forward with the production of their Infringing Series.
11            64.      Indeed, based on information and belief, Defendants filmed the Infringing
12   Series between October 8, 2017, and November 5, 2017.
13            65.      Then, on or about January 25, 2018, Defendants announced that they would
14   broadcast the first episode on their Infringing Series on March 20, 2018, on the Lifetime
15   cable and satellite network, which is owned by Defendant A&E.
16            66.      On March 20, 2018, Defendants aired the first episode of its Infringing Series
17   on the Lifetime network.
18            67.      Since then, Defendants have aired a total of eight episodes, which collectively
19   comprise the entire first season of the Infringing Series.
20            68.      Following the debut of the Infringing Series, Defendant AfterBuzz TV
21   published a fifty-two-minute video titled, “Love At First Flight Season 1 Episode 1 Review
22   & Reaction,” in which the hosts discuss the Infringing Series’ first episode. Five more
23   AfterBuzz TV Love at First Flight After Shows (collectively the “After Show”) were
24   broadcast, with four featuring a different participant from the Infringing Series as a guest.
25            69.      To promote the Infringing Series and After Show, Defendants used Reflex
26   Media’s Logo as its thumbnail image link to the After Show’s live stream and video. (See
27   Exhibit 2 and Exhibit 3).
28   ////
                                                      14

                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 15 of 33 Page ID #:156



 1                                     GENERAL ALLEGATIONS
 2                               DEFENDANTS’ TRADEMARK INFRINGEMENT
 3            70.      Reflex Media has expended substantial time and resources to create, develop,
 4   produce and advertise its reality entertainment web series, Love at First Flight, including,
 5   but not limited to: casting and compensating well-known social media personalities Gabbie
 6   Hanna, Jon Paul Piques, J. Cyrus, and George Janko to appear in and promote the series;
 7   flying the cast and film crew members to various destinations for filming and providing
 8   accommodations; arranging and paying for activities for the cast; editing the film; and
 9   creating artwork for the show.
10            71.      Reflex Media’s Original Series has received unsolicited media coverage and
11   been featured in articles, including articles published on DatingAdvice.com and Metro. It
12   has also been viewed than 701,000 times.
13            72.      Defendants did not use the trademark, LOVE AT FIRST FLIGHT, in
14   commerce until after Plaintiff Reflex Media began using the Trademark in connection with
15   its reality entertainment series.
16            73.      Indeed, before Defendants used the trademark, Reflex Media informed them
17   that it had previously produced a reality entertainment series using the Trademark and
18   name, Love at First Flight. And, on February 21, 2017, Defendants were asked to change
19   the name of their reality entertainment series, which—like the Reflex Media’s Original
20   Series—also portrays the possibility of finding love between people meeting in-person for
21   the first time during travel.
22            74.      Therefore, Defendants had knowledge of Reflex Media’s prior use of the
23   Trademark, Logo and Love at First Flight title before they announced, on January 25, 2018,
24   that they would premier the first episode of their Infringing Series on March 20, 2018.
25            75.      Defendants have advertised the Infringing Series using marks that are
26   confusingly similar to Plaintiffs’ Marks on the Lifetime network in commercials and
27   preview clips.
28            76.      Defendants have also advertised the Infringing Series using marks that are
                                                     15

                                         FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 16 of 33 Page ID #:157



 1   confusingly similar to Plaintiffs’ Marks on the Internet, including on the PMG Defendants’
 2   website (http://www.pilgrimstudios.com/casting/firstflight/), the Lifetime network’s
 3   website            (https://www.mylifetime.com/shows/love-at-first-flight),         Facebook.com
 4   (https://www.facebook.com/firstflightcasting/), YouTube, and on search engines such as
 5   Google (see Exhibit 4), Yahoo! (see Exhibit 5), DuckDuckGo (see Exhibit 6), and Ask.com
 6   (see Exhibit 7), where the Infringing Series’ search results are intermingling with the search
 7   results for Plaintiffs’ first-in-time reality entertainment series, Love at First Flight.
 8            77.      Since it was initially broadcast, Defendants have rebroadcast the Infringing
 9   Series on the Lifetime network and made it available on YouTube.
10            78.      In fact, clips of the Infringing Series and an offer to purchase a license to view
11   episodes of the Infringing Series have become intermingled with Plaintiff’s first-in-time
12   reality entertainment series when searching for “Love at First Flight” on YouTube (see
13   image above).
14            79.      Despite Defendants’ Infringing Series and its promotion, Plaintiff’s Original
15   Series’ episodes have significantly more views and comments. (See Exhibit 8.)
16            80.      In addition, Defendant AfterBuzz TV, who—based on information and
17   belief—partnered with A&E, Pilgrim Media and/or Pilgrim Films to produce and broadcast
18   an after show that discussed and promoted the Infringing Series.
19            81.      These Defendants used Plaintiffs’ Logo, which includes the phrase, “by
20   MissTravel,” to promote the Infringing Series and the After Show, thereby explicitly
21   misleading consumers as to the Infringing Series’ and the After Show’s origin.
22                                 DEFENDANTS’ COPYRIGHT INFRINGEMENT
23            82.      As described above, Defendants had access to Reflex Media’s Original Series,
24   which was available to the public on YouTube before Defendants began producing their
25   Infringing Series.
26            83.      Without Plaintiffs’ authorization or consent, the PMG Defendants and
27   Defendant A&E copied the core plot, theme, mood, settings, and characters of the Original
28   Series.
                                                        16

                                           FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 17 of 33 Page ID #:158



 1            84.      Reflex Media’s Original Series consists of individuals meeting for the first
 2   time in-person on multiple-day dates in exotic locations such as Hawaii; Cabo San Lucas,
 3   Mexico; Vancouver, Canada; and Costa Rica, and other planned locations to include
 4   landlocked cities like Las Vegas. The participants featured in the show are young attractive
 5   singles who participate in bonding activities such as: attending a live performance featuring
 6   shirtless male dancers, zip lining amongst trees, dinner dates, waterfall activities, boating,
 7   paddle water activities, and ocean snorkeling.
 8            85.      Reflex Media’s Original Series’ conveys a theme and mood of fun, adventure,
 9   and anticipation for the prospect of burgeoning romantic feelings between the participants
10   on the show.
11            86.      Defendants’ Infringing Series similarly consists of multiple-day dates in
12   exotic locations such as Hawaii, Las Vegas, Seattle, and New York City. The participants
13   featured in the Infringing Series also are young attractive singles who participate in
14   bonding activities such as: attending a live performance featuring shirtless male dancers,
15   tree climbing using climbing lines, waterfall activities, boating, paddle water activities, and
16   ocean snorkeling.
17            87.      Defendants’ Infringing Series also similarly conveys a theme and mood of
18   fun, adventure, and anticipation for the prospect of burgeoning romantic feelings between
19   the participants on the show.
20                                    FIRST CAUSE OF ACTION
                            CALIFORNIA COMMON LAW TRADEMARK INFRINGEMENT
21                                       (Against all Defendants)
22            88.      Reflex Media incorporates by reference each and every allegation contained
23   in the preceding and subsequent paragraphs of this amended complaint, as if fully set forth
24   herein.
25            89.      Reflex Media has, since at least 2015, used and continues to use Love at First
26   Flight as the name of its reality entertainment series, which explores finding love and/or a
27   romantic relationship with someone during travel. Since that time, Reflex Media has also
28   used the LOVE AT FIRST FLIGHT trademark and the Logo in connection with its
                                                      17

                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 18 of 33 Page ID #:159



 1   Original Series.
 2            90.       Reflex Media’s use of the Marks predates the creation of Defendants’
 3   Infringing Series or Defendants’ use of marks that are identical and/or confusingly similar
 4   to Plaintiffs’ Marks. Indeed, based on their intent-to-use application, Defendants did not
 5   use these infringing marks in commerce prior to 2017.
 6            91.      LOVE AT FIRST FLIGHT is an inherently distinctive trademark in relation
 7   to an entertainment reality series about dating, relationships, and the possibility of finding
 8   love between people who meet in-person for the first time during travel and has acquired
 9   secondary meaning through its viewership and advertising.
10            92.      The USPTO has also registered a similar mark (which has been cancelled due
11   to a failure to file a Section 8 declaration), LOVE AT FIRST SIGHT, for “entertainment
12   services; namely, a romance television game show” without a Section 2(f) statement.
13            93.      Based on the foregoing, Reflex Media has a valid, legally protectable interest
14   in the LOVE AT FIRST FLIGHT trademark and Logo.
15            94.      Without Reflex Media’s consent, PMG, A&E and AfterBuzz TV have used
16   in commerce, in connection with the sale, offering for sale, distribution or advertising of
17   Defendants’ goods and services, including, as a title for a competing reality entertainment
18   series that also explores finding love and/or a romantic relationship with someone during
19   travel, a mark identical or substantially similar to Plaintiffs’ LOVE AT FIRST FLIGHT
20   trademark and Logo, the use of which is explicitly misleading and likely to cause
21   confusion, mistake and/or deception among consumers who may perceive that Defendants’
22   goods and services are the same as those of Reflex Media, and/or that Defendants’ goods
23   and services are somehow associated, affiliated, connected, approved, authorized or
24   sponsored by Reflex Media.
25            95.      Indeed, Defendants’ actions have caused actual confusion. For example, the
26   website <www.twentytwowords.com> recently used a screen capture of a tweet from
27   Reflex Media’s MissTravel Twitter account and wrongfully associated Reflex Media’s
28   MissTravel account with Defendants’ Infringing Series.
                                                      18

                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 19 of 33 Page ID #:160



 1            96.      Defendants have knowingly and willfully infringed on the Trademark and
 2   Logo since at least February 21, 2017—the date that they received an email from Reflex
 3   Media informing them that it had a common law trademark on LOVE AT FIRST FLIGHT
 4   and urged Defendants to change the name of their contemplated series.
 5            97.      Defendants acted with the intent to cause confusion, mistake, or deception
 6   with consumers. Defendants’ intent is apparent from, among other things, the similarity of
 7   the shows and Defendants’ use of the exact same name: Love at First Flight.
 8            98.      Defendants’ continued use of confusingly similar marks that are identical to
 9   Plaintiffs’ LOVE AT FIRST FLIGHT mark and Logo will continue to cause irreparable
10   harm and injury to Plaintiffs for which Plaintiffs have no adequate remedy at law. The
11   threat of future injury to consumers and to Plaintiffs’ intellectual property, business,
12   identity, goodwill and future opportunity to bring its web series to television or other
13   mediums under its Trademark (like other web series that have done the same, such as Broad
14   City, Drunk History and Adam Ruins Everything), necessitates the award of injunctive
15   relief to prevent Defendants’ continued infringement of Reflex Media’s valuable Marks.
16            99.      Based on information and belief, Defendants have unjustly profited from their
17   infringement of the Marks, including the large viewership of Reflex Media’s Original
18   Series and its association with popular social media influencers.
19            100. As a direct and proximate result of Defendants’ infringing activities as alleged
20   herein, Plaintiffs have suffered substantial damage in an amount to be proven at trial, but
21   estimated to exceed $75,000, exclusive of interest and costs.
22                                 SECOND CAUSE OF ACTION
                               CONTRIBUTORY TRADEMARK INFRINGEMENT
23               (Against All Defendants, Except Pilgrim Operations and AfterBuzz TV)
24            101. Plaintiffs incorporate by reference each and every allegation set forth in the
25   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
26            102. Plaintiffs are informed and believe, and on that basis allege, that Defendants
27   A&E and Pilgrim Media entered into an apparent or actual partnership or joint venture for
28   purposes of producing, broadcasting and promoting the Infringing Series, and—based on
                                                      19

                                         FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 20 of 33 Page ID #:161



 1   information and belief—Pilgrim Media directed, oversaw and encouraged Defendant
 2   Pilgrim Films to produce and promote the Infringing Series for the benefit of A&E and
 3   Pilgrim Media. In turn, Pilgrim Films used Pilgrim Operations as a vehicle for purposes of
 4   producing the Infringing Series.
 5            103. Indeed, based on information and belief, Defendants A&E and Pilgrim Media
 6   provided Pilgrim Films, and in turn, Pilgrim Operations, with the capital, personnel and
 7   (stolen) concept for producing the Infringing Series and access to the Lifetime cable
 8   network where the Infringing Series was first broadcast.
 9            104. Defendant Pilgrim Films has also applied with the USPTO to register the
10   LOVE AT FIRST FLIGHT trademark, and based on information and belief, Defendant
11   Pilgrim Films has agreed to assign and/or license its rights in the trademark to Defendants
12   A&E and/or Pilgrim Media.
13            105. Based on information and belief, Defendants A&E and Pilgrim Media were
14   able and did exercise direct control over and intentionally induced Defendant Pilgrim
15   Films, who in turn exercised control over and intentionally induced Defendant Pilgrim
16   Operations, to infringe Plaintiffs’ Trademark.
17            106. In addition, based on information and belief, Pilgrim Films—as the applicant
18   and proclaimed owner of the LOVE AT FIRST FLIGHT trademark—exercises control
19   over and intentionally induced Defendants A&E and Pilgrim Media to infringe Plaintiffs’
20   Trademark by using a mark that was identical or confusingly similar thereto in connection
21   with the production, broadcasting and advertising of the Infringing Series.
22            107. Defendants A&E, Pilgrim Media and Pilgrim Films’ conduct constitutes
23   contributory trademark infringement of Plaintiffs’ Marks.
24            108. As a direct and proximate result of Defendants’ contributory trademark
25   infringement, Plaintiffs have suffered substantial damage in an amount to be proven at trial,
26   but estimated to exceed $75,000, exclusive of interest and costs.
27   ////
28   ////
                                                  20

                                      FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 21 of 33 Page ID #:162



 1                                    THIRD CAUSE OF ACTION
                                  VICARIOUS TRADEMARK INFRINGEMENT
 2                          (Against All Defendants, Except Pilgrim Operations)
 3            109. Plaintiffs incorporate by reference each and every allegation set forth in the
 4   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
 5            110. Plaintiffs are informed and believe, and on that basis allege, that Defendants
 6   A&E and Pilgrim Media entered into an apparent or actual partnership or joint venture for
 7   purposes of producing and broadcasting the Infringing Series, and—based on information
 8   and belief—Pilgrim Media directed, oversaw and encouraged Defendant Pilgrim Films to
 9   produce the Infringing Series for the benefit of A&E and Pilgrim Media. In turn, Pilgrim
10   Films used Pilgrim Operations as a vehicle for purposes of producing the Infringing Series.
11            111. Accordingly, Defendants A&E and Pilgrim Media exercise joint ownership
12   and control, along with Pilgrim Films, over the production, broadcasting and associated
13   advertising for the Infringing Series.
14            112. In addition, based on information and belief, Pilgrim Films—as the applicant
15   and proclaimed owner of the LOVE AT FIRST FLIGHT trademark—has an apparent or
16   actual partnership with A&E and/or Pilgrim Media pursuant to which it allows them to use
17   its rights in the trademark.
18            113.      Based on information and belief, Defendant AfterBuzz TV also has an
19   apparent or actual partnership with Defendants A&E, Pilgrim Media and/or Pilgrim Films
20   related to the production of the After Show, which promotes the Infringing Series using
21   marks that are identical or confusingly similar to Plaintiffs’ Marks.
22            114. Defendants A&E, Pilgrim Media, Pilgrim Films, and AfterBuzz TVs’ conduct
23   constitutes vicarious trademark infringement of Plaintiffs’ Marks.
24            115. As a direct and proximate result of Defendants’ contributory trademark
25   infringement, Plaintiffs have suffered substantial damage in an amount to be proven at trial,
26   but estimated to exceed $75,000, exclusive of interest and costs.
27   ////
28   ////
                                                    21

                                        FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 22 of 33 Page ID #:163



 1                             FOURTH CAUSE OF ACTION
            FEDERAL FALSE DESIGNATIONS, FALSE DESCRIPTIONS, AND FALSE ADVERTISING,
 2                    AND UNFAIR COMPETITION UNDER 15 U.S.C. § 1125(a)
                                   (Against all Defendants)
 3
              116. Plaintiffs incorporate by reference each and every allegation set forth in the
 4
     preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
 5
              117. LOVE AT FIRST FLIGHT is an inherently distinctive trademark in relation
 6
     to an entertainment reality series about dating, relationships, and the possibility of finding
 7
     love between people who meet in-person for the first time during travel.
 8
              118. Defendants’ misuse of Plaintiffs’ Marks in commerce in connection with their
 9
     Infringing Series—including commercial advertising and promotion of the Infringing
10
     Series using the After Show—constitutes a false designation of origin and/or a false or
11
     misleading representation that is explicitly misleading and likely to cause confusion,
12
     mistake and/or deception with consumers that Defendants and/or their Infringing Series
13
     services are associated, affiliated, connected, approved, authorized or sponsored by Reflex
14
     Media.
15
              119. The likelihood of consumer confusion is particularly high here, where
16
     Defendants have published advertisements and broadcast a competing reality
17
     entertainment series at approximately the same time, though the same and similar channels
18
     of distribution, directed at the same consumer demographic.
19
              120. Moreover, Defendants’ After Show has explicitly misled consumers as to the
20
     Infringing Series’ association, affiliation, connection, approval, authorization or
21
     sponsorship with Reflex Media and its Original Series.
22
              121. Defendants’ conduct as described in this amended complaint constitutes a
23
     false designation of origin and/or false or misleading representation that is explicitly
24
     misleading and likely to cause confusion, mistake, or deception with the public and/or
25
     consumers as to the affiliation, connection, or association between Reflex Media and/or its
26
     Original Series, on the one hand, and Defendants’ and/or their Infringing Series, on the
27
     other hand.
28
                                                   22

                                       FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 23 of 33 Page ID #:164



 1            122. Based on information and belief, Defendants have unjustly profited from the
 2   foregoing conduct.
 3            123. As a direct and proximate result of Defendants’ foregoing conduct, Plaintiffs
 4   have suffered damages in an amount to be proven at trial, but estimated to exceed $75,000,
 5   exclusive of interest and costs.
 6                               FIFTH CAUSE OF ACTION
           FRAUD IN THE APPLICATION UNDER 15 U.S.C. §§ 1119 AND 1120; 28 U.S.C. § 2201
 7                             (Against Defendant Pilgrim Films)
 8            124. Plaintiffs incorporate by reference each and every allegation set forth in the
 9   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
10            125. Defendant Pilgrim Films’ trademark application contains the following
11   declarations:
12            a.       “The signatory believes that the applicant is entitled to use the mark in
13            commerce.”
14            b.       “The facts set forth in the application are true.”
15            c.       “To the best of the signatory's knowledge and belief, no other persons, except,
16            if applicable, concurrent users, have the right to use the mark in commerce, either in
17            the identical form or in such near resemblance as to be likely, when used on or in
18            connection with the goods/services of such other persons, to cause confusion or
19            mistake, or to deceive.”
20            d.       “To the best of the signatory's knowledge, information, and belief, formed
21            after an inquiry reasonable under the circumstances, the allegations and other factual
22            contentions made above have evidentiary support.”
23            e.       “The signatory being warned that willful false statements and the like are
24            punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such
25            willful false statements and the like may jeopardize the validity of the application or
26            submission or any registration resulting therefrom, declares that all statements made
27            of his/her own knowledge are true and that all statements made on information and
28            belief are believed to be true.”
                                                        23

                                           FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 24 of 33 Page ID #:165



 1            126. Pilgrim Films made these declarations even though it knew (and was
 2   specifically told) that a competing reality entertainment series existed that had continually
 3   used the Trademark before Defendant Pilgrim Films filed its application, before it had used
 4   the LOVE AT FIRST FLIGHT mark in commerce and knowing that a high degree of
 5   confusion was likely with consumers due to the similarity of Reflex Media’s Original
 6   Series and Defendants’ Infringing Series.
 7            127. Pilgrim Films’ trademark application was not a concurrent use application.
 8            128. Plaintiffs did not give Pilgrim Films authorization to use the Trademark, and
 9   a representative from Reflex Media specifically told Pilgrim Films that it was not
10   authorized to use the Trademark. Accordingly, Pilgrim Films knew that “other persons [. .
11   .] have the right to use the mark in commerce” and that it was not “entitled to use the mark
12   in commerce,” nor did it “have the right to use the mark in commerce, either in the identical
13   form or in such near resemblance as to be likely, when used on or in connection with the
14   goods/services of such other persons, to cause confusion or mistake, or to deceive.”
15            129. Upon information and belief, Pilgrim Films made these statements to deceive
16   the USPTO so that it would publish the application for opposition and the USPTO has
17   relied on those representations.
18            130. On March 2, 2018, Clover8 applied for federal registration of its LOVE AT
19   FIRST FLIGHT Trademark with the USPTO which became Application Serial No.
20   87818846.
21            131. Once assigned to an examiner, Clover8’s trademark application will be
22   suspended per 37 C.F.R. §2.83(c) and TMEP 1208.01, pending a decision on Pilgrim
23   Film’s unlawful application.
24            132. Plaintiffs have been harmed by Pilgrim Films’ application because: (1) it
25   represents that Pilgrim Films has a right to use the Trademark in commerce, and (2) will
26   delay the publication of Clover8’s Application Serial No. 87818846 and the requested
27   registration of the Trademark by the USPTO.
28
                                                  24

                                        FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 25 of 33 Page ID #:166



 1            133. Therefore, Plaintiffs petition the Court to order Pilgrim Films to withdraw
 2   Application Serial No. 87351899, pending before the USPTO, and to refrain from refiling
 3   such an application.
 4                                      SIXTH CAUSE OF ACTION
                                COPYRIGHT INFRINGEMENT UNDER 17 U.S.C. § 501
 5                               (Against All Defendants, Except AfterBuzz TV)
 6            134. Plaintiffs incorporate by reference each and every allegation set forth in the
 7   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
 8            135. Reflex Media is in the process of registering copyrights for the Original Series
 9   with the U.S. Copyright Office (the “Copyrights”) and will update this Court and deliver
10   evidence of the same as soon as soon as the applications are filed.
11            136. Reflex Media therefore has reserved all rights in the Original Series and owns
12   the exclusive right to prepare derivative works based on the Original Series.
13            137. As described above, Defendants PMG and A&E had knowledge of and access
14   to Reflex Media’s Original Series prior to the time it began production on its own
15   Infringing Series.
16            138. As also described above, Defendants’ Infringing Series is substantially similar
17   to Reflex Media’s Original Series and copied the core plot, theme, mood, settings, and
18   characters of the Original Series, including an attempt to use one of Reflex Media’s
19   previously used cast members.
20            139. Defendants PMG and A&E are engaging, and have engaged, in the
21   unauthorized use and violation of Reflex Media’s exclusive rights in the Original Series,
22   including unauthorized publication of the Infringing Series, production, reproduction, sale,
23   exploitation, and distribution, of the Infringing Series and any unauthorized publication,
24   production, reproduction, sale, exploitation, and distribution, and preparation of other
25   products derived from the Original Series.
26            140.          Defendants PMG and A&E, without permission or consent from Reflex
27   Media, have used and continue to use the Original Series to produce and advertise the
28   production of a derivative work, the Infringing Series. In doing so, Defendants PMG and
                                                      25

                                           FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 26 of 33 Page ID #:167



 1   A&E have violated Reflex Media’s Copyright including production, reproduction, and
 2   distribution, and the right to prepare derivative works based on the Original Series.
 3            141. The foregoing acts have been and are willful and intentional.
 4            142. Defendants PMG and A&E’s conduct has caused and will continue to cause
 5   Reflex Media irreparable injury that may not be fully compensated for with money, and
 6   for those damages there is no adequate remedy at law. Therefore, Reflex Media is entitled
 7   to injunctive relief to enjoin further behavior as described in this amended complaint.
 8            143. As a direct and proximate result of the infringement by Defendants PMG and
 9   A&E of Plaintiffs exclusive rights, Reflex Media is entitled to actual damages and
10   Defendants PMG and A&E’s profits pursuant to 17 U.S.C. § 504(b).
11                                SEVENTH CAUSE OF ACTION
                               CONTRIBUTORY COPYRIGHT INFRINGEMENT
12               (Against All Defendants, Except Pilgrim Operations and AfterBuzz TV)
13            144. Plaintiffs incorporate by reference each and every allegation contained in the
14   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
15            145. Plaintiffs are informed and believe, and on that basis allege, that Defendants
16   A&E and Pilgrim Media entered into an apparent or actual partnership or joint venture for
17   purposes of producing, broadcasting and promoting the Infringing Series, and—based on
18   information and belief—Pilgrim Media directed, oversaw and encouraged Defendant
19   Pilgrim Films to produce and promote the Infringing Series for the benefit of A&E and
20   Pilgrim Media. In turn, Pilgrim Films used Pilgrim Operations as a vehicle for purposes of
21   producing the Infringing Series.
22            146. Indeed, based on information and belief, Defendants A&E and Pilgrim Media
23   provided Pilgrim Films, and in turn, Pilgrim Operations, with the capital, personnel and
24   concept for producing the Infringing Series and access to the Lifetime cable network where
25   the Infringing Series was first broadcast.
26            147. As described above, each of A&E, Pilgrim Media and Pilgrim Films knew
27   that the Infringing Series substantially copied Reflex Media’s Original Series and thereby
28   violated its copyrights.
                                                   26

                                       FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 27 of 33 Page ID #:168



 1            148. Reflex Media is informed and believes, and on that basis alleges, that
 2   Defendant A&E has materially contributed to the copyright infringement alleged herein by
 3   broadcasting the Infringing Series on its cable television network and by making it
 4   available on the Internet through streaming services, including YouTube.
 5            149. Reflex Media is informed and believes, and on that basis alleges, that
 6   Defendants Pilgrim Media and Pilgrim Films induced Defendant Pilgrim Operations to
 7   produce the Infringing Series and provided material support and direction over Pilgrim
 8   Operations’ production of the Infringing Series.
 9            150. The foregoing acts of infringement by Defendants have been willful,
10   intentional and purposeful, and in disregard of and with indifference to the rights of Reflex
11   Media.
12            151. Reflex Media is informed and believes, and on that basis alleges, that
13   Defendants A&E, Pilgrim Media and Pilgrim Films have derived substantial financial
14   benefit from the production, broadcast and dissemination of the Infringing Series.
15            152. Defendants A&E, Pilgrim Media and Pilgrim Films’ conduct constitutes
16   contributory infringement of Reflex Media’s Copyrights, in violation of Section 106 and
17   501 of the Copyright Act.
18            153. As a direct and proximate result of the foregoing, Reflex Media has suffered
19   substantial damages to its business in the form of diversion of trade, loss of profits, injury
20   to goodwill and reputation, and a dilution of the value of its exclusive rights in the amount
21   to be established at trial. Reflex Media is entitled to its actual damages and Defendants’
22   profits attributable to the infringement pursuant to 17 U.S.C. § 504(b).
23            154. Alternatively, Reflex Media is entitled to the maximum statutory damages,
24   pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for each work infringed or such
25   other amounts as may be proper under 17 U.S.C. § 504(c).
26            155. Reflex Media is entitled to its attorneys’ fees and full costs pursuant to 17
27   U.S.C. § 505.
28            156. Defendant A&E, Pilgrim Media and Pilgrim Films’ conduct is causing and,
                                                   27

                                      FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 28 of 33 Page ID #:169



 1   unless enjoined and restrained by this Court, will continue to cause Reflex Media great and
 2   irreparable injury that cannot fully be compensated or measured in money. Accordingly,
 3   pursuant to 17 U.S.C. § 502, Reflex Media is entitled to injunctive relief prohibiting further
 4   infringement of its copyrights.
 5                                  EIGHTH CAUSE OF ACTION
                                  VICARIOUS COPYRIGHT INFRINGEMENT
 6                (Against All Defendants, Except Pilgrim Operations and AfterBuzz TV)
 7            157. Plaintiffs incorporate by reference each and every allegation contained in the
 8   preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
 9            158. Plaintiffs are informed and believe, and on that basis allege, that Defendants
10   A&E and Pilgrim Media entered into an apparent or actual partnership or joint venture for
11   purposes of producing, broadcasting and promoting the Infringing Series, and—based on
12   information and belief—Pilgrim Media directed, oversaw and encouraged Defendant
13   Pilgrim Films to produce and promote the Infringing Series for the benefit of A&E and
14   Pilgrim Media. In turn, Pilgrim Films used Pilgrim Operations as a vehicle for purposes of
15   producing the Infringing Series.
16            159. As a result, each of A&E, Pilgrim Media and Pilgrim Films had the right and
17   ability to supervise the infringing conduct.
18            160. Plaintiff is informed and believes, and on that basis alleges, that Defendants
19   A&E, Pilgrim Media and Pilgrim Films all received a direct financial benefit from the
20   infringing activity described herein.
21            161. Defendants A&E, Pilgrim Media, and Pilgrim Films’ conduct constitutes
22   vicarious copyright infringement of Reflex Media’s copyrights in violation of Section 106
23   and 501 of the Copyright Act.
24            162. As a direct and proximate result of the foregoing, Reflex Media has suffered
25   substantial damages to its business in the form of diversion of trade, loss of profits, injury
26   to goodwill and reputation, and a dilution of the value of its exclusive rights in the amount
27   to be established at trial. Reflex Media is entitled to its actual damages and Defendants
28   A&E, Pilgrim Media, and Pilgrim Films’ profits attributable to the infringement pursuant
                                                    28

                                       FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 29 of 33 Page ID #:170



 1   to 17 U.S.C. § 504(b).
 2            163. Alternatively, Reflex Media is entitled to the maximum statutory damages,
 3   pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 for each work infringed or such
 4   other amounts as may be proper under 17 U.S.C. § 504(c).
 5            164. Reflex Media is entitled to its attorneys’ fees and full costs pursuant to 17
 6   U.S.C. § 505.
 7            165. Defendant A&E, Pilgrim Media and Pilgrim Films’ conduct is causing and,
 8   unless enjoined and restrained by this Court, will continue to cause Reflex Media great and
 9   irreparable injury that cannot fully be compensated or measured in money. Accordingly,
10   pursuant to 17 U.S.C. § 502, Reflex Media is entitled to injunctive relief prohibiting further
11   infringement of its copyrights.
12                                 NINTH CAUSE OF ACTION
13                UNFAIR COMPETITION UNDER CAL. BUS. & PROF. CODE. § 17200 ET SEQ.
                                      (Against all Defendants)
14
              166. Plaintiffs incorporates by reference each and every allegation contained in the
15
     preceding and subsequent paragraphs of this amended complaint, as if fully set forth herein.
16
              167. Any conduct that is unlawful, unfair or deceptive constitutes a violation of the
17
     California Unfair Competition Law, Business and Professions Code § 17200 et seq
18
     (“UCL”).
19
              168. Defendants have violated California’s UCL by: (a) infringing on Plaintiffs’
20
     Marks, as described above; and (b) by falsely representing that an affiliation, connection,
21
     and/or association exists between Reflex Media and/or its Original Series, on the one hand,
22
     and Defendants and/or their Infringing Series, on the other hand.
23
              169. Defendants’ aforementioned conduct has caused harm to Plaintiffs and
24
     diminished the value of its Marks, brand and goodwill in an amount to be proven at trial.
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              170. Plaintiffs request that that this Court enjoin Defendants from further engaging
26
     in the trademark infringement described in this complaint.
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                                                    29

                                       FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 30 of 33 Page ID #:171



 1                                        PRAYER FOR RELIEF
 2            WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
 3            1.       Adjudge that Plaintiffs’ Marks have been infringed by Defendants’ acts and
 4   used in violation of Plaintiffs’ common-law rights;
 5            2.       Adjudge that Defendants have competed unfairly with Plaintiffs in violation
 6   of Plaintiffs’ rights under 15 U.S.C. § 1125 and applicable state law;
 7            3.       Adjudge that Defendants and each of their agents (and subagents), employees,
 8   attorneys, successors, assigns, affiliates, and joint ventures and any person(s) in active
 9   concert or participation with them, and/or person(s) acting for, with, by, through or under
10   them, be enjoined and restrained at first during the pendency of this action and thereafter
11   permanently from:
12                     a.    Selling, offering for sale distributing, advertising, or promoting any
13            goods or services that display any words or symbols that so resemble or are
14            confusingly similar to Plaintiffs’ Marks as to be likely to cause confusion, mistake
15            or deception, on or in connection with any goods or services that are not authorized
16            by Plaintiffs;
17                     b.    Using any word, term, name, symbol, or device or combination thereof
18            that causes or is likely to cause confusion, mistake or deception as to the affiliation
19            or association of Defendants’ or their goods/services with Plaintiffs, or as to the
20            origin of Defendants’ goods or services, or any false designation of origin, false or
21            misleading description or representation of fact;
22                     c.    Further infringing on the rights of Plaintiffs in and to any of its
23            trademarks, trade dress, products and services or otherwise damaging Plaintiffs’
24            goodwill or business reputations;
25                     d.    Otherwise competing unfairly with Plaintiffs in any manner; and
26                     e.    Continuing to perform in any manner whatsoever any of the other acts
27            complained of in this amended complaint;
28            4.       Adjudge that Defendants, within thirty (30) days after service of the judgment
                                                      30

                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 31 of 33 Page ID #:172



 1   demanded herein, be required to file with this Court and serve upon Plaintiffs’ counsel a
 2   written report under oath setting forth in detail the manner in which it has complied with
 3   the judgment;
 4            5.       Adjudge that Plaintiffs recover from Defendants their actual damages and lost
 5   profits in an amount to be determined at trial, but estimated to exceed $75,000, for
 6   Defendants’ violations of 15 U.S.C. § 1125 and common-law infringement; that
 7   Defendants be required to account for any profits that are attributable to its illegal acts; and
 8   that Plaintiffs be awarded the greater of (1) three times Defendants’ profits or (2) three
 9   times any damages sustained under 15 U.S.C. § 1117, plus prejudgment interest or (3)
10   statutory damages;
11            6.       Adjudge that Plaintiffs recover from Defendants their actual damages and lost
12   profits plus any additional profits of Defendants PMG and A&E, in an amount to be
13   determined at trial, but estimated to exceed $75,000, for Defendants’ violations of 17 U.S.
14   Code § 501; that Defendants be required to account for any profits that are attributable to
15   its illegal acts.
16            7.       Adjudge that Plaintiffs be awarded their costs incurred in connection with this
17   action, including its reasonable attorneys’ fees and investigative expenses;
18            8.       Impose a constructive trust on all of Defendants’ funds and assets that arise
19   out of Defendants’ infringing activities;
20            9.       Adjudge that publication of Application Serial No. 87351899 was procured
21   from the USPTO based on fraudulent statements made therein;
22            10.      Impose an injunction, requiring Defendants to withdraw Application Serial
23   No. 87351899 currently pending before the USPTO and enjoin it from refiling such an
24   application;
25            11.      Impose a preliminary and permanent injunction, enjoining Defendants from
26   further engaging in the conduct described herein;
27            12.      Adjudge that all such other relief be awarded to Plaintiffs as this Court deems
28   just and proper.
                                                      31

                                          FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 32 of 33 Page ID #:173



 1                                   DEMAND FOR JURY TRIAL
 2            Plaintiffs hereby request a jury trial in this matter.
 3
     Dated: May 30, 2018                               SMITH CORRELL, LLP
 4

 5
                                                By:    /s/   Mark L. Smith
 6                                                     Mark L. Smith
                                                       Attorneys for Plaintiffs
 7

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                                         FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
 Case 2:18-cv-02260-GW-FFM Document 37 Filed 05/30/18 Page 33 of 33 Page ID #:174



 1                                CERTIFICATE OF SERVICE
 2            I hereby affirm that a copy of the foregoing Amended Complaint was served upon
 3   the following persons on May 30, 2018, via the Court’s electronic filing system:
 4
              Alonzo B. Wickers, IV
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 9

10
              Attorneys for Pilgrim Media Group, LLC,
              Pilgrim Films and Television, LLC,
11            and Lifetime Entertainment Services, LLC
12
                                                              /s/ Melina Hernandez
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                                      FIRST AMENDED COMPLAINT
     4825-1047-1015, v. 1
